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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                          )
In re:                                                                    )   Chapter 11
                                                                          )
WHITE EAGLE ASSET PORTFOLIO, LP, et al.,1                                 )   Case No. 18-12808 (KG)
                                                                          )
                                         Debtors.                         )   (Jointly Administered)
                                                                          )
                                                                              Re: Docket No. 7
                                                                          )

                                              NOTICE OF DEPOSITION

           PLEASE TAKE NOTICE that pursuant to Rules 26 and 30 of the Federal Rules of Civil

Procedure, as made applicable herein by Rules 7026, 7030, and 9014 of the Federal Rules of

Bankruptcy Procedure, CLMG Corp. (“CLMG”) and LNV Corporation (“LNV” and, together

with CLMG, the “Lender Parties”), by and through their undersigned counsel, will take the

deposition of Miriam Martinez on Monday, January 14, 2019 at 9:00 am local time, at the offices

of White & Case LLP, 200 South Biscayne Boulevard, Suite 4900, Miami, FL 33131 (or such

other time and place as may be agreed to by the parties). The deposition will take place before a

court reporter and will be recorded by stenographic means, may be videotaped, and shall

continue from day to day until it has been completed.




1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, where
    applicable, include: White Eagle Asset Portfolio, LP (0691); White Eagle General Partner, LLC (8312); and Lamington Road
    Designated Activity Company (7738). The location of the Debtors’ service address in these chapter 11 cases is 5355 Town
    Center Road, Suite 701, Boca Raton, FL 33486.




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Dated: January 10, 2019              Respectfully submitted,
       Wilmington, Delaware

/s/ Jeffrey M. Schlerf
Jeffrey M. Schlerf (No. 3047)        Thomas E Lauria (admitted pro hac vice)
FOX ROTHSCHILD LLP                   Jesse Green (admitted pro hac vice)
919 North Market St., Suite 300      WHITE & CASE LLP
Wilmington, DE 19801                 Southeast Financial Center
Telephone: (302) 654-7444            200 S. Biscayne Boulevard, Suite 4900
Facsimile: (302) 463-4971            Miami, FL 33131
jschlerf@foxrothschild.com           Telephone: (305) 371-2700
                                     Facsimile: (305) 358-5744
Attorneys for CLMG Corp.             tlauria@whitecase.com
and LNV Corporation
                                      –and–
                                     David M. Turetsky (admitted pro hac vice)
                                     Andrew T. Zatz (admitted pro hac vice)
                                     WHITE & CASE LLP
                                     1221 Avenue of the Americas
                                     New York, NY 10020-1095
                                     Telephone: (212) 819-8200
                                     Facsimile: (212) 354-8113
                                     dturetsky@whitecase.com
                                     azatz@whitecase.com
                                      –and–
                                     Jason N. Zakia (admitted pro hac vice)
                                     WHITE & CASE LLP
                                     227 West Monroe Street, Suite 3900
                                     Chicago, IL 60606-5055
                                     Telephone: (312) 881-5400
                                     Facsimile: (312) 881-5450
                                     jzakia@whitecase.com

                                     Attorneys for CLMG Corp.
                                     and LNV Corporation




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